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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  In Re:
  BlockFi Inc.                                         Case No.:      ______________________
                                                                             22-19361

                                                       Chapter:                  11

                                                       Chief Judge:   ______________________
                                                                         Michael B. Kaplan



                    NOTICE OF CHAPTER 11 STATUS CONFERENCE

           The within matter has been filed as a Chapter 11 case. Pursuant to 11 U.S.C. § 105(d), the
 Court will hold a status conference on ______________________
                                             January 9, 2023   at ____________________
                                                                        10:00 am       at
 __________________________________________________________________
 United States Bankruptcy Court 402 East State Street Trenton New Jersey 08608 in Courtroom
 ____
   8 before the Honorable _______________________________.
                                  Michael B. Kaplan

                   ATTENDANCE BY THE DEBTOR IS REQUIRED
               AND INTERESTED PARTIES ARE ENCOURAGED TO ATTEND.

           The purpose of this status conference is to promote the efficient administration of the
 case. At the status conference, counsel for the debtor shall be prepared to discuss matters relating
 to the debtor’s business, its financial affairs and anticipated issues in the case. If applicable, the
 debtor and other interested parties should be prepared to address the following:

           1. the debtor’s capital structure (secured and unsecured debt, tax claims, unliquidated
              claims, etc.);

           2. the debtor’s post-petition operations and sources of revenue including use of cash
              collateral and/or debtor in possession financing;

           3. significant motions or litigation anticipated by the debtor or other parties;

           4. whether the use of the Court’s mediation program will assist in the resolution of
              disputed matters;

           5. projected Chapter 11 administrative expenses (ordinary course and professionals) and
              how they will be satisfied;
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       6. proof of claim bar dates;

       7. anticipated date to file Chapter 11 Plan;

       8. compliance with Chapter 11 administrative duties – monthly operating reports,
          retention of professionals, insurance, payment of U.S. Trustee fees, DIP bank
          accounts, etc.;

       9. the scheduling of future status conferences; and

       10. other matters unique to the case.



 Date: _________________________
       November 30, 2022                              JEANNE A. NAUGHTON, Clerk

                                                      BY: ___________________________
                                                          Wendy I. Quiles




                                                                                          new.6/9/17




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